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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
        Plaintiff,
                                                                 Hon. Janet T. Neff
 v.
                                                                 Case No. 1:16-cr-00197
 YUMEY UBMIT MARTINEZ-ORTA,
        Defendant.
 ________________________________/

                           REPORT AND RECOMMENDATION

       Pursuant to W.D. Mich. L.Cr.R. 11.1, I conducted a plea hearing in the captioned

case on November 15, 2016, after receiving the written consent of defendant and all

counsel. At the hearing, defendant Yumey Ubmit Martinez-Orta entered a plea of guilty

to the Superseding Felony Information in exchange for the undertakings made by the

government in the written plea agreement.           In the Superseding Felony Information,

defendant is charged with misprision of a felony in violation of 18 U.S.C. § 4. On the

basis of the record made at the hearing, I find that defendant is fully capable and

competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement;

that the defendant understands the nature of the charge and penalties provided by law;

and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to the Superseding Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written
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plea agreement be considered for acceptance at the time of sentencing. Acceptance of

the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

sentence are specifically reserved for the district judge.


Date: November 15, 2016                                  /s/ Ellen S. Carmody
                                                         ELLEN S. CARMODY
                                                         U.S. Magistrate Judge


       OBJECTIONS to this Report and Recommendation must be filed with the Clerk of

Court within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure

to file objections within the specified time waives the right to appeal the District Court’s

order. Thomas v. Arn, 474 U.S. 140, 155 (1985); United States v. Walters, 638 F.2d 947,

949-50 (6th Cir. 1981).




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